Case 1:00-(yaVeed States Court of P Appeals for the ep dete et uit cuit page tof 4
OFFICE OF THE CLERK

Byron White United States Courthouse
~ 1823 Stout Street
‘ Denver, Colorado 80257
Patricy J. Fisher, Jr. (303)844-3157 F TLit 1f, DD Douglas E. Cresster
Clerk of Court UNITED STATES DISTRICT Bes Gee Clerk
ALEWCUESQUE, NEW MEXICO
DEC 23 2004

December 10, 2004 - ~.. CLERK =—

Mr. Matthew J. Dykman

Clerk

United States District Court for the District of New Mexico
333 Lomas NW, Suite 270

Albuquerque, NM 87102-2242

Re: 02-2323, O Centro Espirita v. Ashcroft
Dist/Ag. docket: CIV-00-1647 JP/RLP,

Dear Counsel:

Enclosed for the clerk of the trial court or the named agency,
is a certified copy of an order entered today. The trial court
has not yet returned the recalled mandate with phe opinion and.
judgment filed in this case. See Fed. R. App. P. 41(a). The trial
court is requested to retain the opinion and file it in the records
of your court.

The clerk of the district court is requested to acknowledge
receipt of this mandate by file stamping and returning the enclosed
copy of this letter. Any original record will be returned to you at
a later date. .

Please contact this office if you have questions.

Sincerely,
PATRICK HER
Clerk
By:
Deputy Clerk
PF:na
ce:

John W. Boyd

Nancy Hollander

David C. Iglesias, U.S. Attorney
Raymond Hamilton, Asst. U.S. Attorney
Vincent M. Garvey

Elizabeth Goitein
=}

Case 1:00-cv-01647-JAP-RLP Document 119

. Michael gay Singer
= Matthew M. collette
Gregory G. Katsas
Gregory 5. Baylor

Nathan A. Adams
Kimberlee W. Colby

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UNITED STATES COURT OF APPEALS

FOR THE TENTH CIRCUIT

O CENTRO ESPIRITA BENEFICIENTE
UNIAO DO VEGETAL, also known as
Uniao do Vegetal (USA), Inc., a New
Mexico corporation on its own behalf and
on behalf of all its members in the United
States; JEFFREY BRONFMAN,
individually and as President of
UDV-USA; DANIEL TUCKER,
individually and as Vice-President of
UDV-USA; CHRISTINA BARRETO, ~
individually and as Secretary of
UDV-USA; FERNANDO BARRETO,
individually and as Treasurer of
UDV-USA; CHRISTINE BERMAN;
MITCHEL BERMAN; JUSSARA DE
ALMEIDA DIAS, also known as Jussara
Almeida Dias; PATRICIA DOMINGO;
DAVID LENDERTS; DAVID MARTIN;
MARIA EUGENIA PELAEZ; BRYAN
REA; DON ST. JOHN; CARMEN
TUCKER; SOLAR LAW, individually
and as members of UDV-USA,

Plaintiffs - Appellees,
v.

JOHN ASHCROFT, Attorney General of
the United States; ASA HUTCHINSON,
Administrator of the United States Drug,
Enforcement Administration; PAUL H.
O'NEILL, Secretary of the Department of
Treasury of the United States; DAVID C.
IGLESIAS, United States Attorney for the
District of New Mexico; DAVID F. FRY,
Resident Special Agent in Charge of-

AL tue copy
Teste
Fatrick Fisher

Cl

- No. 02-2323 arancare
(D.C: No. C1V-00-1647 JP/RLP)
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* Case 1:00-cv-01647-JAP-RLP Document 119° Filed 12/10/04 Page’4 of 4

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‘

' the United States Customs Service Office
of Criminal Investigation in Albuquerque, “| -

New Mexico; all in their official
capacities,

Defendants - Appellants, °

CHRISTIAN LEGAL SOCIETY; THE
NATIONAL ASSOCIATION OF THE
EVANGELICALS; CLIFTON

KIRKPATRICK, as the Stated Clerk of

the General Assembly of the Presbyterian’ —

Church (U.S.A.); QUEENS
FEDERATION OF CHURCHES,

Amicus Curiac.

ORDER *
Filed December 10, 2004- -

On December 2, 2004, pursuant to J ustice-Breyer’s order of December 1, 2004,

temporary stay. The mandate shail reissue forthwith. ~

this court recalled the mandate. The full court has now denied the stay and vacated the _

Entered for the Court

CK FISHER, Clerk of Court
